 Case 2:21-cv-11873-LJM-APP ECF No. 19, PageID.60 Filed 11/30/21 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 ANGELA C YOUNG,

            Plaintiff,                                       Case No. 2:21-cv-11873-LJM-APP
                                                             Honorable Laurie J. Michelson
 v.                                                          Magistrate Judge Anthony P. Patti

 MIDLAND CREDIT MANAGEMENT,
 INCORPORATED,

            Defendant.


   CASE MANAGEMENT REQUIREMENTS AND SCHEDULING ORDER


       This civil case having come before the Court pursuant to Federal Rule of Civil
Procedure 16 and the parties having submitted a proposed discovery plan, the Court
enters the following schedule to manage the progress of the case:

                          EVENT1                                         DEADLINE
            Interim Status Conference2                    January 19, 2022 at 3pm
            Lay Witness Lists Filed                       February 9, 2022
            Discovery Completed By                        March 30, 2022
            Dispositive Motions Filed By                  April 29, 2022
            Motions in Limine                             To Be Determined
            Joint Proposed Final Pretrial TBD
            Order (and pretrial submissions)
            (See § 11)
            Final Pretrial Conference                     TBD
            Jury Trial                                    TBD
            Estimated Length of Trial                     TBD



        1
           For any events not listed on the Scheduling Order, please refer to Federal Rule of Civil Procedure 26.
        2
           To participate in the conference, dial into the Eastern District of Michigan’s telephone conference system
at (866) 434-5269. The system will then provide directions for joining the call; when asked for an access code, use
9819334. If possible, please refrain from participating in the conference on a cell phone.
 Case 2:21-cv-11873-LJM-APP ECF No. 19, PageID.61 Filed 11/30/21 Page 2 of 7




            ADDITIONAL CASE MANAGEMENT REQUIREMENTS

1. LOCAL COUNSEL: An attorney admitted to practice in the Eastern District of
   Michigan who appears as attorney of record and is not an active member of the
   State Bar of Michigan must specify local counsel with an office in this district.
   Local counsel must enter an appearance and otherwise comply with Local Rule
   83.20(f). All inquiries regarding admission to this district should be directed to the
   Clerk’s office at (313) 234-5005.

2. DISCOVERY EXTENSIONS: Parties may agree to extend the discovery cutoff
   deadline by filing a stipulation and order with the Court provided the extension
   of time does not affect the motion cutoff, final pretrial conference, or trial dates.
   Extensions or adjournments of those three events will be considered only upon the
   filing of a timely written motion, including a joint motion.

3. PROTECTIVE ORDERS: Proposed protective orders may be entered by
   stipulation of the parties, and such stipulations are encouraged. But protective
   orders may not contain language that authorizes in advance the filing of
   documents under seal. Filings under seal are governed by Local Rule 5.3, and the
   Court requires that those procedures be followed.

4. DISCOVERY DISPUTES: Discovery motions are not to be filed until the parties
   have complied with the following procedures:

      a. First: The parties must meet and confer in a good-faith effort to resolve their
         differences without Court intervention. Failure of a party to make itself
         available for this conference may result in sanctions.

      b. Second: In the event these good-faith efforts are unsuccessful, the moving
         party is required to schedule a telephonic conference with the Court in a
         further effort to try to resolve the discovery dispute prior to filing any
         motion. Counsel shall contact the Court’s case manager to schedule the
         conference. At least 48 hours prior to the conference, each side shall submit
         a one-page summary of the dispute via the link for proposed orders located
         under the Utilities section of CM/ECF. The parties should also exchange
         their summaries at that time. If the conference is scheduled within 48 hours
         of the parties’ request, the parties are to submit and exchange their
         summaries as soon as possible.

      c. Third: If the dispute still cannot be resolved following the telephonic
         conference, the Court will entertain or refer to the assigned Magistrate
         Judge the relevant discovery motion. Attach a complete copy of the
         discovery request and response at issue. If the motion involves a deposition
         that has already taken place, provide a complete transcript.

                                           2
 Case 2:21-cv-11873-LJM-APP ECF No. 19, PageID.62 Filed 11/30/21 Page 3 of 7




      d. Failure to comply with these steps may result in an award of costs and
         reasonable attorney’s fees against the non-complying party.

5. BRIEFING: Unless specifically addressed in the Court’s Notice of Hearing, the
   time limits prescribed in the Eastern District of Michigan Local Rules apply for
   filing responses and replies to motions. All briefs shall strictly comply with Local
   Rules 5.1 and 7.1. If a brief will exceed the page limit in Local Rule 7.1 by five or
   more pages, the motion for leave to file a brief in excess of the page limits must be
   filed at least one week before the brief is due. Whenever possible, all briefs filed
   with the Court shall be a searchable PDF.

6. COURTESY COPIES: A courtesy copy of all motions and briefs exceeding 25
   pages (once exhibits are included) must be sent to the chambers via first class
   mail. The courtesy copy should consist of the actual e-filed document and contain
   the CM/ECF header on the top of each page and be printed double-sided.
   Preferably, the courtesy copy should be sent to chambers spiral bound.
   Alternatively, it may be sent unbound (rubber-banded or binder clipped) or in a
   three-ring binder. No matter the format, the exhibits must be tabbed.

7. MOTIONS TO AMEND THE PLEADINGS: In accordance with Local Rule 15.1,
   a party who moves to amend a pleading shall attach the proposed amended
   pleading to the motion. The document should be redlined to show the proposed
   changes to the pleading.

8. SUMMARY JUDGMENT: Before filing a motion for summary judgment under
   Federal Rule of Civil Procedure 56, parties should note that, under Rule 56(d),
   summary judgment may be denied if the non-moving party has not had the
   opportunity to discover essential evidence, and that Local Rule 7.1(b) requires a
   party to obtain the Court’s leave to file more than one motion for summary
   judgment. Further, the Local Rules do not permit a party to file a motion as part
   of a response brief. E.D. Mich. Local Rules App’x ECF R. 5(e).

   In addition, the parties must comply with the following guidelines:

      a. Each statement of fact must be supported with a pincite to specific record
         evidence.

      b. The first party to cite to a document must attach the entirety of that
         document to its brief. For example, if the moving party cites a deposition,
         the moving party should docket the entire deposition transcript. The non-
         moving party should then cite to the already-docketed transcript (rather
         than attaching its own version of the transcript). This rule applies for all
         documentary evidence. The goal is to avoid duplication in the summary-
         judgment record.


                                           3
 Case 2:21-cv-11873-LJM-APP ECF No. 19, PageID.63 Filed 11/30/21 Page 4 of 7




      c. A party citing to previously-docketed evidence must cite such evidence by
         its “ECF No.” and “PageID” found in the header generated by CM/ECF. For
         example, “(ECF No. 9, PageID.324)”.

      d. All documentary evidence and briefs, especially deposition transcripts,
         must be filed in a searchable PDF format. As such, it highly advised to
         obtain and docket an electronic copy of a document rather than scan in a
         hardcopy of the document (e.g., printing a brief and then scanning it in is
         not advised).

      e. Deposition transcripts should be filed in standard, not minuscript, form.

      f. The parties are not to include copies of unpublished cases that are available
         on Westlaw or Lexis.

9. CASE EVALUATION/FACILITATION: Parties may stipulate to case
   evaluation or mediation, or request a settlement conference with the District or
   Magistrate Judge at any time. In all cases, a brief status conference will be
   conducted shortly before or after the close of discovery to discuss settlement
   options. It is the responsibility of the attorneys to make sure that case evaluation
   is completed before the final pretrial conference. If the parties elect to submit the
   case to case evaluation pursuant to E.D. Mich. LR 16.3 or to private facilitation,
   they must complete the Court’s form order of reference which is available at
   http://www.mied.uscourts.gov/pdffiles/MichelsonOrderofFacilitationForm.pdf.

10. MOTIONS IN LIMINE: Motions in limine are to be filed by the deadline set
    above. Such motions are not to recast issues previously presented in summary
    judgment or discovery motions. Rather, motions in limine serve the limited
    purpose of alerting the Court to significant evidentiary issues that should be
    addressed prior to trial. The Court will set an expedited briefing schedule to be
    completed before the Final Pretrial Conference. The Court will generally decide
    the motions at the Conference, but will exercise its discretion in deferring a
    decision until trial.

11. PROPOSED FINAL PRETRIAL ORDER AND CONFERENCE:

      a. The parties are to strictly adhere to E.D. Mich. LR 16.2 in jointly preparing
         a proposed Final Pretrial Order, except as this Court may otherwise
         provide. Briefly, Local Rule 16.2 requires that the proposed order contain
         the following information: (1) jurisdiction, (2) plaintiff’s claims, (3)
         defendant’s claims, (4) stipulation of facts, (5) issues of fact to be litigated,
         (6) issues of law to be litigated, (7) evidentiary problems likely to arise at
         trial, (8) a witness list, (9) an exhibit list and any objections, (10) an
         itemization of damages, (11) type of trial (e.g., jury) and its estimated
         length, and (12) details regarding the most recent settlement effort. The
         parties are directed to E.D. Mich. LR 16.2 for further details.
                                           4
Case 2:21-cv-11873-LJM-APP ECF No. 19, PageID.64 Filed 11/30/21 Page 5 of 7




              i. The exhibit list must be prepared in the format described in item
                 12(c), infra. Objections should be stated concisely (e.g.
                 “relevance,” “prior acts,” “best evidence rule”).

    b. Voir Dire: It is the Court’s practice to conduct voir dire. The Court will,
       however, entertain requests for follow-up and additional voir dire on a
       limited basis and may permit such voir dire to be conducted by counsel. In
       such instances, counsel must confine themselves to true voir dire and not
       engage in posturing or argument. While the Court has standard voir dire
       questions, counsel may submit a list of no more than fifteen (15) other
       inquiries specific to the cause(s) of action that they want the Court to
       include. Counsel shall also prepare a two-to-three paragraph joint
       statement of the case which will be read by the Court to the prospective
       panel of jurors during the voir dire.

    c. Jury Instructions: The parties are to meet and confer prior to trial to
       prepare jury instructions on the substantive law of the case. It is the Court’s
       practice to give standard preliminary opening and closing instructions,
       though the parties may request particular instructions as may be
       appropriate. In accordance with the schedule set above, the parties are to
       file with the court a single set of proposed, stipulated jury instructions. The
       Court expects most of the proposed instructions to be agreed upon. The
       parties are advised to consult Federal Jury Practice and Instructions
       (available on Westlaw in the FED-JI database) or Modern Federal Jury
       Instructions (available on Lexis in the MOFEJI database), and, to the
       extent that Michigan law governs, the Michigan Model Civil Jury
       Instructions. If, after a good faith effort, the parties cannot agree upon a
       particular instruction, each party must submit a proposed instruction
       under a single heading followed by a brief, one paragraph statement
       supporting their version (or argument that the instruction should not be
       given), including supporting authority. This should be the exception and
       not the rule. All instructions, both agreed and disputed, shall be presented
       in sequential order and in a single document. If a proposed instruction is
       based on one from a model source, the parties should include a citation to
       the model instruction.

    d. Verdict Form: The parties are to meet and confer prior to trial to prepare
       a proposed joint verdict form. If the parties cannot agree on a proposed
       verdict form, they may submit separate verdict forms with supporting
       authority.

    e. The (1) proposed Final Pretrial Order, (2) voir dire materials (including the
       joint case summary), (3) proposed jury instructions, (4) proposed verdict
       form, and (5) exhibit list must be submitted in Microsoft Word format


                                        5
 Case 2:21-cv-11873-LJM-APP ECF No. 19, PageID.65 Filed 11/30/21 Page 6 of 7




         through the document utilities function of CM/ECF on the day the Final
         Pretrial Order is due as set forth above.

      f. Trial counsel must be present at the Final Pretrial Conference with their
         clients (or a client representative) and have settlement authority.

12. EXHIBITS:

      a. Counsel are required to mark all proposed exhibits in advance of trial. The
         preferred method is to use the traditional “Plaintiff’s Exhibit __” and
         “Defendant’s Exhibit __” in sequential order, but any clearly marked
         method is acceptable (e.g., numbers and letters). The parties are required
         to exchange marked exhibits three (3) days prior to the start of trial.

      b. Counsel are required to keep track of all admitted exhibits during trial.
         Counsel must confer and maintain one set of admitted exhibits which
         should be ready to be turned over to the jury prior to the closing jury
         instructions.

      c. With the filing of the Final Pretrial Order, the parties shall submit an
         Exhibit List which adheres to the following format:

          Exhibit    Description          Objections            Received
          #


         An “S” is to be placed in the column labeled “Received” for all stipulated
         exhibits. If the exhibit is not stipulated, the basis for objections should be
         indicated in the “Objections” column.

      d. The day before the first day of trial, the parties are to provide the Court
         with a set of the marked exhibits. They are to be placed in a three-ring
         binder with the exhibit number displayed prominently on the tab
         corresponding to the exhibit and the above-referenced Exhibit List in the
         front.


      e. The provisions of Federal Rule of Civil Procedure 37(c)(1) will apply for
         failure to list an exhibit.

13. BENCH TRIALS: Fourteen (14) days before trial, each party must serve on
    opposing counsel their proposed Findings of Fact and Conclusions of Law. Each
    party should review the other’s proposed Findings and Conclusions, and then
    make changes to their own proposed Findings and Conclusions as necessary.
    Seven (7) days before trial, each party shall submit to the Court a courtesy copy
    of its proposed Findings of Fact and Conclusions of Law (at the address provided

                                          6
 Case 2:21-cv-11873-LJM-APP ECF No. 19, PageID.66 Filed 11/30/21 Page 7 of 7




   above), and email the Court an editable Word version (at the address provided
   above). If modifications have been made, each party shall re-serve their proposed
   Findings and Conclusions on the other parties. During the course of trial, parties
   shall be prepared to submit to the Court, and to exchange among themselves,
   supplemental Findings of Fact and Conclusions of Law.

14. CIVILITY: The Court expects compliance with this District’s Civility Principles.
    Conduct inconsistent with the letter, and spirit, of those principles will not be
    tolerated. Counsel will treat all litigation participants, and each other, with
    professionalism, courtesy, and respect at all times. This includes what is written
    as well as what is said.

15. TELEPHONIC STATUS CONFERENCES: If issues or disputes arise that the
    parties believe can be resolved short of motion practice, counsel are encouraged to
    contact the Court’s Case Manager and schedule a telephonic status conference for
    the purpose of trying to resolve the matter. Any time the Court schedules a
    telephonic conference it will be conducted through the Eastern District of
    Michigan’s telephonic conference system. At the time specified for the conference,
    the parties shall call (866) 434-5269. The system will then provide directions for
    joining the call; when asked for an access code, use 9819334. If possible, please
    refrain from participating in the conference on a cell phone.

   Dated: November 30, 2021


                                 s/Laurie J. Michelson
                                 LAURIE J. MICHELSON
                                 UNITED STATES DISTRICT JUDGE




                                          7
